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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                    Chapter 11

             SEAPLANE DEBTOR 1, INC., et al.,1                         Case No. 24-10703 (CTG)

                                       Debtors.                        (Jointly Administered)

                                                                       Ref. Docket No. 542

                     NOTICE OF FILING OF EXHIBIT 1 TO PROPOSED ORDER,
               PURSUANT TO SECTIONS 105(A) AND 363(B) OF THE BANKRUPTCY CODE
              AND BANKRUPTCY RULE 9019, APPROVING THE SETTLEMENT REGARDING
                CERTAIN DISPUTES WITH THE DERIVATIVE LITIGATION PLAINTIFFS

                PLEASE TAKE NOTICE that, on October 11, 2024, the above-captioned debtors and
         debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion for Entry of an Order,
         Pursuant to Sections 105(a) and 363(b) of the Bankruptcy Code and Bankruptcy Rule 9019,
         Approving the Settlement Regarding Certain Disputes with the Derivative Litigation Plaintiffs
         [Docket No. 542] (the “Motion”)2 with the United States Bankruptcy Court for the District of
         Delaware (the “Court”).

                 PLEASE TAKE FURTHER NOTICE that, attached as Exhibit A to the Motion was a
         proposed form order (the “Proposed Order”). The Settlement Term Sheet was to be attached as
         Exhibit 1 to the Proposed Order; however, the Debtors inadvertently excluded the Settlement Term
         Sheet when filing the Motion. As such, attached hereto as Exhibit 1 is a copy of the Settlement
         Term Sheet. For the avoidance of doubt, all exhibits referenced in the Settlement Term Sheet were
         filed with the Motion and are therefore excluded from the Settlement Term Sheet attached hereto.


                                                       [Signature Page Follows]




         1
               The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
               number, are: Seaplane Debtor 1, Inc. (f/k/a ICON Aircraft, Inc.) (7443); Seaplane Debtor 2, Inc. (f/k/a IC
               Technologies Inc.) (7918); Seaplane Debtor 3, LLC (f/k/a ICON Flying Club, LLC) (6101); and Seaplane Debtor
               4, LLC (f/k/a Rycon LLC) (5297). The Debtors’ service address is c/o Armanino LLP, 231 Market Place, Suite
               373, San Ramon, CA 94583-4743, Attn: Thomas McCabe, Chief Restructuring Officer.
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               Capitalized terms used but not otherwise defined herein shall have their meanings given to them in the Motion.
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         Dated: October 11, 2024
         Wilmington, Delaware

         /s/ Ashley E. Jacobs
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                                 Exhibit 1
                          Settlement Term Sheet




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                                              Seaplane Debtor 1, Inc. et al.,
                                         Case No. 24-10703-CTG (Bankr. D. Del.)

                                               Claim Assignment Term Sheet

                 The following is a summary (this “Term Sheet”) of material terms of a proposed transaction
         (the “Settlement”) between the Debtors (as defined below) and the Derivative Litigation Plaintiffs1
         together with the Debtors, the “Parties”) in the jointly administered cases styled In re Seaplane
         Debtor 1, Inc. et al., Case No. 24- 10703-CTG (Bankr. D. Del.), which are pending in the United
         States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

              THIS PROPOSAL SHALL BE BINDING ON THE PART OF THE DEBTORS AND
         THE DERIVATIVE LITIGATION PLAINTIFFS SUBJECT TO BANKRUPTCY COURT
         APPROVAL. THIS PROPOSAL IS SUBJECT TO DEFINITIVE DOCUMENTATION
         ACCEPTABLE TO THE PARTIES AS SET FORTH HEREIN.

         Parties                                 Seaplane Debtor 1, Inc. (f/k/a ICON Aircraft, Inc.) (“ICON”),
                                                 Seaplane Debtor 2, Inc. (f/k/a IC Technologies Inc.), Seaplane
                                                 Debtor 3, LLC (f/k/a ICON Flying Club, LLC), and Seaplane
                                                 Debtor 4, LLC (f/k/a Rycon LLC) (collectively, the “Debtors”);

                                                 Any estate representative (e.g., liquidating trustee or plan
                                                 administrator);

                                                 The Derivative Litigation Plaintiffs; and

                                                 Any successors or assigns of any of the foregoing.

         The Derivative Litigation               On June 4, 2021, certain shareholders, directors, and former
                                                 officers of ICON filed a lawsuit in the Delaware Court of
                                                 Chancery (the “Derivative Litigation” and the claims asserted
                                                 therein, the “Derivative Litigation Claims”) against ICON,
                                                 ICON’s president, and certain other directors of ICON
                                                 (specifically, Xudong Zhu, Min Zhang, Xiaoying Fan, and
                                                 Yongjun Li).2 The Derivative Litigation was pending as of the
                                                 petition date.

                                                 The Derivative Litigation Claims and other causes of action of
                                                 the respective estates arising from the same set of underlying
                                                 facts and circumstances are collectively referred to herein as the
                                                 “Litigation Claims”.


         1
             As used herein, the term “Derivative Litigation Plaintiffs” has the meaning set forth in the Verified Statement of
             Paul, Weiss, Rifkind, Wharton & Garrison LLP and Landis Rath & Cobb LLP Pursuant to Federal Rule of
             Bankruptcy Procedure 2019 [Docket No. 111].
         2
             See Asset Mgmt. Co. Venture Fund, L.P., et al. v. Shanghai Pudong Science & Tech. Inv. Co., Ltd., Case No.
             2021- 0475-JTL (Del. Ch. Ct. June 4, 2021).
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         Settlement                The Debtors shall sell the Derivative Litigation Claims (as
                                   defined herein) to the Derivative Litigation Plaintiffs pursuant to
                                   a private assignment under section 363 of the Bankruptcy Code
                                   (the “Derivative Claims Assignment”) on the terms and
                                   conditions set forth herein.

                                   If the Derivative Claims Assignment fails to close for reasons
                                   other than a Debtor Fiduciary Pivot (as defined herein), then the
                                   Parties shall support confirmation of a liquidating chapter 11
                                   plan, in substantially the form and substance as that attached as
                                   Exhibit A hereto, under which the Derivative Litigation Claims
                                   are assigned to a litigation trust under the plan (the “Agreed
                                   Plan”). The Derivative Litigation Plaintiffs shall have until
                                   Noon (ET) on October 26, 2024 to decide whether to sponsor the
                                   Agreed Plan in an amount and on the terms and conditions
                                   satisfactory to the Parties; provided that any sponsorship may be
                                   financed by funding secured by litigation proceeds or otherwise
                                   entitled to a first right of recovery from the litigation proceeds.

                                   If the Derivative Litigation Plaintiffs sponsor the Agreed Plan,
                                   the Agreed Plan shall provide that the litigation trust and the
                                   litigation trustee may not settle, compromise, release, dismiss or
                                   otherwise transfer the Derivative Litigation Claims without the
                                   express, written consent of a majority of the litigation trust
                                   oversight board. The Derivative Litigation Plaintiffs shall
                                   appoint the majority of the litigation trust oversight board, which
                                   may include any of the Derivative Litigation Plaintiffs. For the
                                   avoidance of doubt, the litigation trust oversight board shall not
                                   have consent rights or any other form of authority over the
                                   disposition of any claims or causes of action other than the
                                   Derivative Claims, including any claims against Kirk Hawkins.

                                   If the Derivative Litigation Plaintiffs do not sponsor the Agreed
                                   Plan, then the Agreed Plan shall provide that (a) the Debtors and
                                   Derivative Litigation Plaintiffs shall appoint a mutually
                                   acceptable Litigation Trustee; (b) the Litigation Trust and the
                                   Litigation Trustee shall not be subject to an oversight board;
                                   (c) the Derivative Litigation Plaintiffs shall have consultation
                                   rights over any settlement, release, transfer or other disposition
                                   of the Derivative Litigation Claims; and (d) all Convenience
                                   Class Claims shall be treated as Class 5 General Unsecured
                                   Claims and the Convenience Class shall be eliminated.

                                   If the Debtors (a) file any chapter 11 plan other than the Agreed
                                   Plan without the prior written consent of the Derivative
                                   Litigation Plaintiffs (which may be provided by counsel thereto,
                                   and via e-mail) or (b) pursue any transaction, any motion,
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                                  pleading, or public disclosure seeking to release, settle, transfer
                                  or otherwise encumber or impact in any respect the Derivative
                                  Litigation Claims, in whole or in part, without the prior written
                                  consent of the Derivative Litigation Plaintiffs (either (a) or (b),
                                  a “Debtor Fiduciary Pivot”), then:

                                      i. The Debtor Fiduciary Pivot shall be deemed a material
                                         breach of the Settlement and the Debtors shall pay to the
                                         Derivative Litigation Plaintiff liquidated damages in the
                                         amount of $500,000;

                                      ii. The Debtor Pivot shall be deemed a material breach of
                                          the Settlement and the Derivative Litigation Plaintiffs
                                          may immediately terminate the Settlement without any
                                          further notice or action, and the obligations of the
                                          Derivative Litigation Plaintiffs to pursue an Agreed Plan
                                          or Derivative Litigation Claims Assignment shall be null
                                          and void; and

                                      iii. The Derivative Litigation Plaintiffs’ rights to object to or
                                           otherwise challenge the Debtor Fiduciary Pivot are fully
                                           reserved.

                                  The Debtors shall provide the Derivative Litigation Plaintiffs
                                  with no less than one (1) Business Days advance notice of such
                                  Debtor Fiduciary Pivot. The Debtors agree not to solicit a
                                  transaction resulting in a Debtor Fiduciary Pivot from any of the
                                  PDSTI Defendants or their related parties and shall maintain this
                                  term sheet in confidence until the 9019 Filing Date; however,
                                  after the 9019 Filing Date, shall be free to discuss any such
                                  transaction in response to any outreach (whether written or oral)
                                  from any of the PDSTI Defendants or their related parties.

                                  Before the Debtors file any pleading with the Bankruptcy Court
                                  seeking approval of any Debtor Fiduciary Pivot, the Parties may
                                  agree to mediate a consensual global settlement with the
                                  counterparties to the alternative transaction and such other
                                  entities to which the Parties may agree, in which case the
                                  Derivative Litigation Plaintiffs will agree to suspend their
                                  termination rights until such mediation concludes or is
                                  terminated by the participants.

         Derivative Claims         On or before Noon (ET) on October 26, 2024, ClaimCo, LLC
         Assignment                (“ClaimCo”) may elect to receive an assignment, and the
                                   Debtors shall, subject to Court authority, assign and convey all


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                                              of their rights and interests in the Derivative Litigation Claims
                                              to ClaimCo in exchange for the Purchase Consideration.

                                              The Purchase Consideration shall consist of:

                                              •    $2.5 million in Cash of which shall fund the Convenience
                                                   Class3 and the wind down of the Chapter 11 estates; and

                                              •    Assumption of the Claims set forth in Exhibit B attached
                                                   hereto (the “Assumed Claims”)3on terms mutually
                                                   acceptable to each such claimant and ClaimCo or such other
                                                   treatment with respect to the Assumed Claims as agreed
                                                   between the Debtors and the Derivative Litigation Plaintiffs;
                                                   provided, (a) Assumed Claims shall include all claims held
                                                   by the Derivative Litigation Plaintiffs, their counsel, and
                                                   entities affiliated therewith, other than any Claims filed by
                                                   Kirk Hawkins; and (b) Assumed Claims shall not include
                                                   any claims filed by Shanghai Shunxin Enterprise
                                                   Management Consulting Co., Ltd.

                                              ClaimCo shall not assume any of the Claims set forth in
                                              Exhibit C (the “Excluded Claims”) or Exhibit D, (the
                                              “Convenience Class Claims”) attached hereto.

                                              The Parties shall use commercially reasonable efforts to cause
                                              the Derivative Claims Assignment to close (the “Assignment
                                              Closing”) on or before the effective date (the “Effective Date”)
                                              of the Agreed Plan, which date may be extended from time to
                                              time with the mutual consent of the Parties, not to be
                                              unreasonably withheld.

                                              It shall be a condition precedent to the Assignment Closing that
                                              the following be provided for in Definitive Documentation
                                              and/or the Agreed Plan, as applicable:

                                              •    Parties shall make reasonable best efforts to preserve
                                                   insurance coverage for the benefit of Litigation Claims;

                                              •    The Agreed Plan provides that the Litigation Claims shall be
                                                   sold or be assigned to the Litigation Trust as of the effective
                                                   date of the Agreed Plan; and




         3
             “Convenience Class” shall mean Holders of General Unsecured Claims filed in an amount of $100,000 or less
             or who otherwise elect to receive recovery in the Convenience Class.

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                                   •   The Parties shall agree to provisions necessary to ensure the
                                       non-release of Litigation Claims.

         Litigation Trust Toggle   The Derivative Litigation Plaintiffs shall consent to, vote for and
                                   otherwise support the Agreed Plan.

                                   The Debtors shall support and take all steps reasonably
                                   necessary and desirable to implement and consummate the
                                   confirmation of the Agreed Plan in accordance with the terms
                                   herein.

         Releases                  The Derivative Litigation Plaintiffs and their Related Parties
                                   (excluding Kirk Hawkins) shall be Released Parties under the
                                   Plan.

         Bankruptcy Matters        Regardless of whether the Assignment Closing occurs, or the
                                   9019 Motion is approved, unless the Assignment Closing does
                                   not occur or the 9019 Motion is not approved because of a
                                   Debtor Fiduciary Pivot, the definitive Settlement
                                   documentation shall:

                                       •   Resolve all Plan and disclosure statement objections
                                           among the Parties;
                                       •   Resolve standing to prosecute Derivative Litigation
                                           Claims; and
                                       •   Provide that all Derivative Litigation Plaintiffs shall
                                           vote in favor and fully support the Agreed Plan.
                                   If the Assignment Closing does not occur or the 9019 Motion is
                                   not approved because of a Debtor Fiduciary Pivot, than the
                                   Derivative Litigation Plaintiffs may terminate the Settlement
                                   and exercise such rights as otherwise set forth in this Agreement
                                   related thereto.
         Settlement Approval and    The Debtors shall file a motion (a “9019 Motion”) with the
         Effective Date             Bankruptcy Court under Rule 9019 of the Federal Rules of
                                    Bankruptcy Procedure seeking approval of this Settlement and
                                    the Derivative Claims Assignment (the date of such filing, the
                                    “9019 Motion Filing Date”).

                                    Prior to the filing of the 9019 Motion, the Parties shall stipulate
                                    in writing that all active litigation related to the various
                                    motions and objections filed by the Derivative Litigation
                                    Plaintiffs in the Chapter 11 Cases be suspended until the earlier



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                                     of (a) the Assignment Closing or confirmation of the Agreed
                                     Plan and (b) termination of the Settlement.

         No Admission of Liability   Notwithstanding anything to the contrary herein, none of the
                                     Parties admit to any wrongdoing, liability, fact, fault, assertions,
                                     or illegality, each of which is expressly denied by the Parties.
                                     This Settlement is entered into to resolve, settle, and
                                     compromise disputed matters so as to avoid the cost, expense,
                                     and effort associated with continuing the dispute. Nothing
                                     contained herein or in the Joint Chapter 11 Plan of Liquidation
                                     for ICON Aircraft, Inc. and its Debtor Affiliates (as amended,
                                     modified, or supplemented, the “Plan”), the disclosure statement
                                     relating thereto (the “Disclosure Statement”), or any other
                                     related document shall be construed or used as an admission to
                                     any wrongdoing, liability, fact, fault, assertion, or illegality by
                                     any of the Parties, each of which is expressly denied.

         Bankruptcy Court Approval   The Parties agree to affirmatively support the entry of the 9019
                                     Order and shall not object to or otherwise hinder or delay any
                                     efforts to obtain approval of the 9019 Order.

                                     Upon entry of the 9019 Order, this Term Sheet and the
                                     Settlement incorporated herein shall be binding on all Parties
                                     (and their successors and assigns), the plan administrator, and
                                     all parties in interest, including any chapter 7 trustee.

         Dispute Resolution          The Parties agree that any dispute, claim, action, suit, or
                                     controversy arising out of or relating to this Term Sheet or the
                                     performance thereof, interpretation or validity thereof,
                                     including actions for equitable relief, declaratory relief, or
                                     anticipatory breach, and any alleged material breach of a
                                     material term of the Term Sheet shall be resolved by the
                                     Bankruptcy Court, which shall have exclusive jurisdiction
                                     over matters related this Term Sheet.

         Governing Law               This Term Sheet shall be governed by and construed in
                                     accordance with the laws of the State of New York, regardless
                                     of law that might otherwise govern under any conflicts of law
                                     principles.

         Counterparts                This Term Sheet may be executed by the Parties in
                                     counterparts, each of which shall be deemed an original, but
                                     all of which together shall constitute one and the same
                                     instrument.


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